                  IN THE UNITED STATES DISTRICT COURT
       FOR THE DISTRICT COURT OF TENNESSEE AT WESTERN DIVISION



 IVA JOY AND WILLIAM JOY,

        Plaintiffs,

 vs.                                                CASE NO. 1:20-CV-01131-STA-jay
                                                    JJURY DEMAND
 AMGUARD INSURANCE COMPANY,

        Defendants/Third-Party Plaintiff.

 vs.

 ANTHONY LANCASTER INSURANCE
 AGENCY, INC. and ANTHONY
 LANCASTER,

        Third-Party Defendants.

                   AMGUARD INSURANCE COMPANY'S RULE 50
                  MOTION FOR JUDGEMENT AS A MATTER OF LAW
                                     And
                   POST TRIAL BRIEF ORDERED BY THE COURT



       Comes now Defendant/Third-Party Plaintiff, AmGuard Insurance Company (hereinafter

referred to as “AmGuard”) by and through counsel, and pursuant to Rule 50 of the Federal Rules

of Civil Procedure, hereby renews its Motion for Judgement as a Matter of Law and otherwise

respectfully submits its Post Trial Brief ordered by this Court. [See Minute Entry, doc. 149].

       In support of this Motion, AmGuard would show that the jury found that AmGuard

proved by a preponderance of the evidence that Iva Joy made a material misrepresentation on the

Proposal of Insurance. [See Verdict, doc. 150, p.1]. The material misrepresentation increased the

risk of loss to AmGuard as a matter of law. Accordingly, the insurance policy at issue in this

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litigation is void ab-initio. AmGuard is entitled to judgement as a matter of law because it was

fully justified in denying Plaintiffs’ claim under the policy.

        In support of this Motion, AmGuard relies on the Legal Memorandum in Support of Rule

50 Motion for Judgement as a Matter of Law and Post Trial Brief.

                                                  Respectfully submitted,
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                                                   ATTORNEY FOR AMGUARD INSURANCE
                                                   COMPANY




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                                  CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing document was filed electronically. Notice of
this filing will be sent by operation of the Court’s electronic filing system to all parties indicated
on electronic filing receipt. All other parties will be served by regular U.S. Mail. Parties may
access this filing through the Court’s electronic filing system.

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         This the 12th day of July, 2022.



                                                           /s/ Brian F. Walthart
                                                           BRIAN F. WALTHART




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